                                  Case 0:24-cv-60145-AHS Document 3 Entered on FLSD Docket 01/24/2024 Page 1 of 2




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                                    4                                  UNITED STATES DISTRICT COURT

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                                    6                                 NORTHERN DISTRICT OF CALIFORNIA

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                                    9     MATTHEW IRVIN,                                      Case No. 23-cv-06659-JSW
                                                         Plaintiff,
                                   10
                                                                                              ORDER OF TRANSFER
                                                   v.
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                                   12     GOOGLE.COM, et al.,
Northern District of California
 United States District Court




                                                         Defendants.
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                                   14          Plaintiff, an inmate in Broward County (Florida) Jail proceeding pro se, has filed a civil

                                   15   complaint. Where an alternative forum with greater relation to the defendants or the action exists

                                   16   than the forum in which the action was filed, 28 U.S.C. § 1404(a) allows transfer of a case from

                                   17   one federal district court to another "[f]or the convenience of parties and witnesses, in the interest

                                   18   of justice." Eight Defendants are located in Broward County, one in Defendant is in an unknown

                                   19   location in Florida, one Defendant is located in Los Angeles County, and two Defendants

                                   20   (Youtube and Google) are headquartered within this district. The Plaintiff, the majority of

                                   21   Defendants, and the preponderance of events giving rise to Plaintiff’s claims took place in

                                   22   Broward County and Dade County, which lie within the venue of the Southern District of Florida.

                                   23   See 28 U.S.C. § 89. Only two of the 12 Defendants are located within this district, and the Court

                                   24   finds virtually no allegations against them in the complaint. Accordingly, the Court finds the

                                   25   Southern District of Florida to have a greater relation to the parties and to this action than the

                                   26   instant forum.

                                   27          Consequently, in the interest of justice and for the convenience of the parties, IT IS

                                   28   ORDERED that pursuant to 28 U.S.C. § 1404(a) this action be TRANSFERRED to the United
                                  Case 0:24-cv-60145-AHS Document 3 Entered on FLSD Docket 01/24/2024 Page 2 of 2




                                    1   States District Court for the Southern District of Florida.

                                    2          The Clerk shall transfer this matter forthwith.

                                    3          IT IS SO ORDERED.

                                    4         Dated: January 24, 2024

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                                                                                                      JEFFREY S. WHITE
                                    7                                                                 United States District Judge
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Northern District of California
 United States District Court




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